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UNITED STATES DISTRICT COURT                                           SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                                Case Number            4:20-CV-03709


             STEVEN HOTZE, M.D., WENDELL CHAMPION, HON. STEVE TOTH, AND SHARON HEMPHILL



                                                     versus

                                                 CHRIS HOLLINS




           Lawyer’s Name                      Jessica M. Scheller
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 Name of party applicant seeks to                 Amici Cities and Counties
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:      11/02/2020         Signed:    /s/ Jessica M. Scheller




 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                              United States District Judge
